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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


X.J., a minor, by his parent and natural     :
Guardian, YESINIA NEGRON                     :
                                             :
            v.                               :      CIVIL ACTION NO. 22-1304
                                             :
POLICE OFFICER KEEN, et al                   :

                                             ORDER


       AND NOW, this       12th     day of       August   , 2022, upon consideration of the

Parties’ Stipulation that all claims against Defendant Police Officer Rycek be dismissed pursuant

to Rule 41 of the Federal Rules of Civil Procedure, it is ORDERED that the Stipulation is

GRANTED. Defendant Police Officer Christoher Rycek is DISMISSED with prejudice,

pursuant to agreement of counsel without costs.


                                                      BY THE COURT:




                                                      ________________________
                                                     R. BARCLAY SURRICK, J.
